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     Joseph Figlia
 5

 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,     )            NO.2:12-cr-00198-MCE-30
10                                 )
          PLAINTIFF,               )
11                                 )            STIPULATION AND ORDER
          v.                       )            TO CONTINUE SENTENCING
12                                 )            OF DEFENDANT JOSEPH FIGLIA
     Joseph Figlia,                )
13
                                   )
14
                                   )
          DEFENDANT.               )
15   ______________________________)

16
           It is hereby stipulated and agreed, by and between Michael
17
     Anderson, ASUA on behalf of the United States and Michael J.
18

19
     Aye, on behalf of defendant Joseph Figlia, and agreed to by

20   probation, that sentencing be continued from January 8, 2015
21   until March 5, 2015.
22
           The   reason   for     this    continuance      is   that   defendant   is
23
     currently in a four year iron workers apprentice program. The
24

25
     program     is   structure    such     that      if   defendant    successfully

26   completes 1100 hours of the program prior to incarceration he
27   will be able to return and complete the program once released
28
     ______________________________________
     Stipulation and Order to
     Continue Sentencing
                                              - 1 -
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 1   from     custody.     He        currently    has      a    little     over    800   hours
 2
     completed.
 3
            Once completed, the training will allow defendant to emerge
 4
     from prison and be gainfully employed as a union iron worker.
 5

 6   This is a program that pre-trial services has approved of, while

 7   defendant has been on pre-trial release. Further, probation has
 8
     no objection to this continuance.
 9
            The Presentence Report has already been disclosed.
10

11   Dated: 12/18/2014
                                         __Michael J. Aye /S/________________
12
                                         Michael J. Aye, Attorney for
13                                       Defendant, Joseph Figlia

14   Date: 12/18/2014                    ___Michael Anderson /S/_____________
                                         Michael Anderson, AUSA, Attorney for
15
                                         Plaintiff, United States of America
16

17                                               ORDER
18
            For Good Cause Shown, it is hereby ORDRED that the previous
19
     sentencing     date        of    January     8,     2015    be      vacated   and   that
20
     sentencing be reset to March 5, 2015 at 9:00 a.m.
21

22          IT IS SO ORDERED.

23
     Dated:    January 5, 2015
24

25

26

27

28
     ______________________________________
     Stipulation and Order to
     Continue Sentencing
                                                   - 2 -
